     Case 2:22-cv-00184-LCB-CWB Document 279-1 Filed 05/10/23 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

Brianna Boe, et al.,                    )
                                        )
Plaintiffs,                             )
                                        )
United States of America,               )
                                        )
Intervenor Plaintiff,                   )
                                        )
v.                                      ) Civil Action No. 2:22-cv-184-LCB
                                        )
Hon. Steve Marshall, in his official    )
capacity as Attorney General,           )
of the State of Alabama, et al.,        )
                                        )
Defendants.                             )

          [PROPOSED] FIFTH AMENDED SCHEDULING ORDER

       For good cause shown under Federal Rule of Civil Procedure 16(b)(4), the

Court GRANTS Defendants’ motion and AMENDS the fourth amended scheduling

order (Doc. 270) as follows:

       Complete Production by HHS and WPATH: HHS and WPATH must fully

comply with this Court’s orders (Docs. 261 & 263) and produce complete discovery

in response to Defendants’ requests for production and Rule 45 subpoena,

respectively, by October 1, 2023.

       Discovery Cutoff: All discovery must be commenced in time to be completed

by January 19, 2024.



                                       1
    Case 2:22-cv-00184-LCB-CWB Document 279-1 Filed 05/10/23 Page 2 of 2




      Dispositive Motions: All potentially dispositive motions, including Daubert

motions, must be filed by February 9, 2024.

      Expert Testimony: A complete report under Fed. R. Civ. P. 26(a)(2)(B) from

any expert specially retained or employed by Defendants shall be due by November

20, 2023. Rebuttal expert opinions shall be due by December 18, 2023.

      Final Lists: Lists of trial witnesses and exhibits must be filed by February 23,

2024. Any objections to such lists, including objections under Federal Rule of Civil

Procedure 26(a)(3), must be filed within fourteen days thereafter.

      Trial: The parties shall be trial ready by March 2024.

      DONE and ORDERED.

Dated: ________________                BY THE COURT:

                                       _________________________
                                       LILES C. BURKE
                                       UNITED STATES DISTRICT JUDGE




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